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12
                                      UNITED STATES DISTRICT COURT
13
                                NORTHERN DISTRICT OF CALIFORNIA
14

15
     VOTING RIGHTS DEFENSE PROJECT, et                 Case No. C-16-02739
16   al.,
                                                      DECLARATION OF GARY REMER
17                      Plaintiffs,
18
            v.
19
     ALEX PADILLA, et al.,
20
                        Defendants.
21

22

23
             I, GARY REMER, declare:
24
            1. Until quite recently. I have been a lifetime independent voter, which I have recently
25

26               learned is referred to as “no party preference”. This month, I changed my registration

27               to Democratic so I was certain that I could vote for a Democratic candidate in the

28               Presidential primary. I reside in the County of Monterey.
                                       DECLARATION OF GARY REMER                                       1
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1      2.   I could not understand what had happened to my ballot. None of the voting material
2           had not cone in the mail. I went to elections office to try to find out what happened
3
            more than once.
4
       3. I was told by the elections office that in order to vote for a Democrat, or a
5
            Republican, I would have to change my affiliation, which I did.
6

7      4. The packet of voting materials went out on the 9th of May, which I received about the

8           18th. Then back to the office to find out where and when the ballot was and when

9           could expect it. The ballot showed up on the 23rd of May and returned to them on the
10          24th.
11
       5. I registered as a Democrat so I would have a better chance to vote for President, and
12
            not to have someone manipulate my vote.
13
       6. During my visits to the office was filled with voters confused and frustrated, making
14

15          the same complaints similar to mine. Everyone was trying to figure out what was

16          going on.

17          I declare under penalty of perjury that the foregoing is true and correct and of my own
18
            personal knowledge. Executed on May 26, 2016, in Salinas, California.
19

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            _____________________
21          GARY REMER
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                                DECLARATION OF GARY REMER                                           2
